Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 1 of 21 PageID #:
                                     650




                            Exhibit C
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 2 of 21 PageID #:
                                     651
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 3 of 21 PageID #:
                                     652
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 4 of 21 PageID #:
                                     653
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 5 of 21 PageID #:
                                     654
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 6 of 21 PageID #:
                                     655
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 7 of 21 PageID #:
                                     656
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 8 of 21 PageID #:
                                     657
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 9 of 21 PageID #:
                                     658
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 10 of 21 PageID #:
                                     659
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 11 of 21 PageID #:
                                     660
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 12 of 21 PageID #:
                                     661
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 13 of 21 PageID #:
                                     662
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 14 of 21 PageID #:
                                     663
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 15 of 21 PageID #:
                                     664
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 16 of 21 PageID #:
                                     665
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 17 of 21 PageID #:
                                     666
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 18 of 21 PageID #:
                                     667
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 19 of 21 PageID #:
                                     668
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 20 of 21 PageID #:
                                     669
Case 2:24-cv-00572-JRG   Document 41-14 Filed 10/28/24   Page 21 of 21 PageID #:
                                     670
